Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 1 of 9 Page ID #:12




                         Exhibit “A”
                                       1
Electronically FILED by Superior Court of California, County of Los Angeles on 04/18/2022 02:15 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                   Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 2 of 9 Page ID #:13
                                                   22STCV12916
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Mel Red Recana



                          1 Zahra H. Aziz, SBN 297339
                                MATTHIESEN, WICKERT & LEHRER, S.C.
                          2 1851 East First Street, Suite 1150
                          3 Santa Ana, CA 92705
                                Phone: (800) 637-9176
                          4     Fax: (262) 673-3766
                                Email zaziz@mwl-law.com
                          5
                          6 Attorneys for Plaintiff
                          7 WAWANESA GENERAL INSURANCE COMPANY
                          8
                                                                          SUPERIOR COURT OF CALIFORNIA
                          9
                                                                                  COUNTY OF LOS ANGELES
                        10
                        11 WAWANESA GENERAL INSURANCE                                                    )    Case No.
                                                                                                         )
                        12 COMPANY,                                                                      )    COMPLAINT FOR:
                                                                                                         )
                        13                             Plaintiff,                                        )     1. EQUITABLE CONTRIBUTION
                                                                                                         )     2. CONTRACTUAL SUBROGATION
                        14                 vs.                                                           )     3. DECLARATORY RELIEF
                                                                                                         )
                        15 GEICO INSURANCE GENERAL                                                       )
                                                                                                         )    Unlimited Jurisdiction Case
                        16 INSURANCE COMPANY, a Corporation,                                             )
                           WHITNEY TYLER REQUA, an individual,
                                                                                                         )
                        17 and DOES 1 to 50, inclusive,                                                  )    Jury Trial Demanded
                                                                                                         )
                        18                             Defendants.                                       )
                        19
                                           Plaintiff WAWANESA GENERAL INSURANCE COMPANY (hereinafter “Plaintiff”),
                        20
                               complains and alleges as follows:
                        21
                                                                                                   PARTIES
                        22
                                           1.         At all times mentioned herein, Plaintiff was and is, at all times relevant hereto, doing
                        23
                               business as an insurer under the laws of the State of California.
                        24
                                           2.         Plaintiff is informed and believes, and thereon alleges, that Defendant GEICO
                        25
                               GENERAL INSURANCE COMPANY (hereinafter “DEFENDANT” or “GEICO”) was and is, at
                        26
                               all times relevant hereto, a corporation authorized to conduct business under the laws of the State of
                        27
                               California.
                        28
                                                                   -1-
                                _______________________________________________________________________
                                                                                                2 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 3 of 9 Page ID #:14



   1          3.      Plaintiff is informed and believes, and thereon alleges, that Defendant WHITNEY

   2 TYLER REQUA (“REQUA”) was and is, at all times relevant hereto, a resident of the city of Los
   3 Angeles, County of Los Angeles, State of California.
   4          4.      Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 50, are

   5 persons, corporations, or other entities which reside in California, or are authorized to do business
   6 in the State of California. The true names and identities of DOES 1 through 50 are currently
   7 unknown to the Plaintiff and Plaintiff therefore prays for leave to amend this Complaint to assert
   8 the proper names of DOE defendant once their identity is discovered.
   9          5.      Plaintiff is informed and believes, and thereon alleges, that each fictitiously named

  10 Defendant is in some way responsible for, participated in, or contributed to the matters of which
  11 Plaintiff complains and has legal responsibility for those matters.
  12          6.      The true names and capacities of Defendant DOES 1 through 50, inclusive, are

  13 unknown to Plaintiff, who therefore sues them by such fictitious names. Does 1 through 50,
  14 inclusive, are believed to be insurers responsible in some manner for the damages alleged herein.
  15 Plaintiff will seek leave to amend this Complaint to insert the true names and capacities of the
  16 fictitiously named Defendants when their names have been ascertained. Plaintiff is informed,
  17 believes, and on that basis alleges that each Defendant designated as “DOE” is legally responsible
  18 in some manner for the acts, occurrences, damages, and liabilities alleged in this Complaint, and
  19 actively and proximately caused or contributed to the various injuries and damages referred to in
  20 this Complaint.
  21          7.      Defendants GEICO, REQUA, and DOES 1 through 50 are referred to herein

  22 collectively as “Defendants.”
  23                                     JURISDICTION & VENUE

  24          8.      This Court has personal jurisdiction over the Defendants, and each of them, as they

  25 are at all relevant times hereinafter mentioned Defendants resided, were incorporated, headquartered
  26 and/or engaged in business or the business of selling and/or placing insurance products in the State
  27 of California.
  28          9.      Venue as to Defendants is proper in this judicial district pursuant to Code of Civil
                                          -2-
       _______________________________________________________________________
                                                 3 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 4 of 9 Page ID #:15



   1 Procedure § 395, because Defendant entered into the contracts within this district.
   2         10.       This Court has subject matter jurisdiction over this matter as the amount in

   3 controversy exceeds $25,000.
   4                                      COMMON ALLEGATIONS

   5         11.       On September 2, 2018, the Plaintiff’s Insured Chua, was riding as a passenger in a

   6 golf cart, DEFENSE VEHICLE, operated by Defendant REQUA.
   7         12.       Due to REQUA’s negligence, careless, and/or inattention, the DEFENSE

   8 VEHICLE fell on its side (the “ACCIDENT”).
   9         13.       As a result of the accident, Plaintiff’s Insured Chua suffered serious injuries to

  10 numerous body parts, including but not limited to, his head, broken fingers, and tendon damage to
  11 his right hand.
  12         14.       At all relevant times mentioned herein, Defendant REQUA had an insurance/ auto

  13 coverage with Defendant GEICO (Policy No. 4321483663).
  14         15.       Plaintiff’s Insured Chua demanded that Plaintiff pay UMBI benefits to him for his

  15 injures and other claims related to the ACCIDENT. Thereafter, Plaintiff made a UMBI payment
  16 of $102,497.50 to its Insured Chua on or about September 17, 2021. Therefore, Plaintiff incurred
  17 approximately $102,497.50 in damages and additional costs due to the negligence of Defendant
  18 GEICO’s Insured, REQUA.
  19          16.      PLAINTIFF is informed and believes, and on that basis alleges that at the time that

  20 Plaintiff paid benefits in the amount of $102,497.50, there was in effect a GEICO policy of
  21 insurance covering REQUA.
  22          17.      Plaintiff has requested that Defendant GEICO reimburse and/or contribute to

  23 Plaintiff for the payment that Plaintiff had to make for the negligence of Defendant GEICO’s
  24 Insured REQUA. Defendant GEICO has denied Plaintiff’s request for pro-rata reimbursement or
  25 any reimbursement at all.
  26          18.      Plaintiff alleges and believes that there is a present controversy between Plaintiff

  27 and Defendants GEICO and REQUA. Plaintiff seeks a judicial determination of the respective
  28 rights, duties, and obligations of Plaintiff and Defendants GEICO and REQUA, and their
                                          -3-
       _______________________________________________________________________
                                                   4 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 5 of 9 Page ID #:16



   1 successors, as those rights, duties and obligations relate to the ACCIDENT involving Plaintiff’s
   2 Insured Chua on September 2, 2018. Plaintiff seeks equitable contribution, contractual
   3 subrogation, and declaratory relief from Defendants GEICO and REQUA and their successors, to
   4 the extent that Plaintiff may have been or will be deemed obligated to pay amounts for the defense
   5 and/or indemnity and/or settlement of the injury accident suffered by Plaintiff’s Insured Chua that
   6 should have been paid, in whole or in part, by Defendants GEICO and REQUA and/or their
   7 successors.
                                                 THE POLICIES
   8
              19.       Plaintiff made, executed, and delivered one or more policies of automobile insurance
   9
       to Insured Jeremy Chua. (Wawanesa Policy No./ Claim No. 1739150.)
  10
              20.       Based on information and belief, DEFENDANT GEICO, executed, and delivered
  11
       one or more policies of auto liability insurance to Defendant REQUA that provided insurance
  12
       coverage for Defendant REQUA at the time of the ACCIDENT. (GEICO Policy No. 4321483663).
  13
                                           FIRST CAUSE OF ACTION
  14
                                         EQUITABLE CONTRIBUTION
  15
                                             (Against All Defendants)
  16
              21.       Plaintiff repeats and re-alleges each and every allegation set forth in the preceding
  17
       paragraphs and incorporates them herein by reference as though set forth in full.
  18
              22.       Pursuant to the terms and conditions of the Wawanesa Policy and subject to a
  19
       reservation of its rights, Plaintiff provided underinsured motorist benefits to Chua, for the bodily
  20
       injury damages suffered in the INCIDENT. Plaintiff incurred and paid attorney’s fees, as well other
  21
       costs, and contributed to the settlement for the benefit of Chua.
  22
              23.       Defendant GEICO, and any successors, were obligated to pay damages on behalf of
  23
       their Insured Defendant REQUA for the injuries caused by Defendant REQUA TO Plaintiff’s
  24
       Insured, Chua.
  25
              24.       Accordingly, under the law and the doctrine of equitable contribution, Plaintiff is
  26
       entitled to equitable contribution from Defendant REQUA and Defendant GEICO and its
  27
       successors, and each of them, of its equitable share of the attorneys’ fees, and other costs paid by
  28
                                          -4-
       _______________________________________________________________________
                                                   5 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 6 of 9 Page ID #:17



   1 Plaintiff to pay Chua for underinsured benefits for injuries stemming from the INCIDENT.
   2          25.    Accordingly, under the law and the doctrine of equitable contribution, Plaintiff is

   3 entitled to equitable contribution from Defendant REQUA and Defendant GEICO and its
   4 successors, and each of them, of its equitable share of the settlement contribution paid by Plaintiff
   5 to pay Chua for underinsured benefits for injuries stemming from the INCIDENT.
   6          26.    Since an actual controversy now exists between the parties concerning Plaintiff’s

   7 right to equitable contribution from Defendants, and each of them, judicial determination is
   8 necessary and appropriate.
   9                                  SECOND CAUSE OF ACTION

  10                                CONTRACTUAL SUBROGATION

  11                                      (Against All Defendants)

  12          27.    Plaintiff repeats and re-alleges each and every allegation set forth in the preceding

  13 paragraphs and incorporates them herein by reference as though set forth in full.
  14          28.    Pursuant to the Conditions of the Wawanesa Policy, Wawanesa has all rights of

  15 subrogation, and is entitled to all rights and remedies which the insured, Chua, would have had
  16 against any person or property in respect to the SUBJECT INCIDENT.
  17          29.    Pursuant to the terms and conditions of the Wawanesa Policy, Plaintiff contributed

  18 to settlement of uninsured/ underinsured motorist benefit claim of Jeremiah Chua. Plaintiff incurred
  19 and paid approximately $102,497.50 in damages and additional costs due to the negligence of
  20 Defendant GEICO’s Insured, REQUA.
  21          30.    Based on information and belief, Defendant GEICO, its agents and/or successors

  22 failed and refused to pay any portion of Chua’s demand for benefits and/or other associated costs.
  23          31.    Thus, Plaintiff was forced to pay significant sums on behalf of its Insured Chua in

  24 uninsured/ underinsured motorist benefits, even though Defendant REQUA and his Insurer
  25 Defendant GEICO was primarily liable for the costs to pay Jeremiah Chua’s demand.
  26          32.    Defendant GEICO, its agents and/or successors, had the primary obligation to pay

  27 the demand for benefits made by Chua, yet refused and failed to participate in or pay any sums
  28 associated with the settlement of Chua’s demand.
                                          -5-
       _______________________________________________________________________
                                                6 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 7 of 9 Page ID #:18



   1          33.    Defendant GEICO, its agents and/or successors, should be adjudged responsible for

   2 and ordered to pay settlement contribution, and other costs incurred by Plaintiff in paying the
   3 settlement benefits for the uninsured/underinsured motorist claim made by Jeremiah Chua.
   4                                    THIRD CAUSE OF ACTION
   5                                     DECLARATORY RELIEF
   6                                       (Against All Defendants)
   7          34.    Plaintiff repeats and re-alleges each and every allegation set forth in the preceding
   8 paragraphs and incorporates them herein by reference as though set forth in full.
   9          35.     A dispute has arisen and an actual controversy now exists between Plaintiff and
  10 Defendant GEICO, and each of them, concerning their respective rights and duties, in that Plaintiff
  11 contends it is entitled to contribution and subrogation from Defendants by virtue of Defendants, and
  12 each of them, improper refusal to participate in the defense and/or indemnification and/or settlement
  13 of Jeremiah Chua’s demand for benefits.
  14          36.    Plaintiff is informed, believes, and on that basis alleges that Defendant GEICO, their
  15 successors, and each of them, deny the above contention and contend that Plaintiff is not entitled to
  16 equitable contribution and/or subrogation from any and all Defendants.
  17          37.    A declaration of rights is necessary and appropriate at this time in order that Plaintiff
  18 may ascertain its rights and duties because no adequate remedy, other than as prayed for, exists by
  19 which the rights of the parties may be determined.
  20                                       PRAYER FOR RELIEF
  21          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, on each
  22 and every cause of action, as follows:
  23          A.     An award of damages in an amount to be determined at trial, including actual and
  24 consequential damages, not less than $102,497.50;
  25          B.     All costs of suit incurred herein;
  26          C.     Attorney’s fees as permitted by statute or contract;
  27          D.     Pre-judgment interest as provided by law;
  28
                                          -6-
       _______________________________________________________________________
                                                 7 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 8 of 9 Page ID #:19



   1        E.     Declaratory Relief; and

   2        F.     An award of such other and further relief as may be just and proper.

   3
   4 Dated: April 18, 2022                       MATTHIESEN, WICKERT & LEHRER, S.C.

   5
   6
   7                                             By:    ________________________________
                                                        Zahra H. Aziz, Esq.
   8                                                    Attorneys for Plaintiff
                                                        WAWANESA GENERAL INSURANCE
   9                                                    COMPANY
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          -7-
       _______________________________________________________________________
                                              8 COMPLAINT
Case 2:22-cv-03438-RGK-JPR Document 1-2 Filed 05/20/22 Page 9 of 9 Page ID #:20



  1                                    DEMAND FOR JURY TRIAL

  2          Plaintiff demands trial by jury.

  3
  4   Dated: April 18, 2022                         MATTHIESEN, WICKERT & LEHRER, S.C.

  5
  6
                                                    By:      ________________________________
  7
                                                             Zahra H. Aziz, Esq.
  8                                                          Attorneys for Plaintiff

  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                                   - 8-
                                                    COMPLAINT

                                                9
